     Case 2:20-cv-11506-JFW-JC Document 1 Filed 12/21/20 Page 1 of 9 Page ID #:1




 1   Todd M. Friedman (SBN 216752)
     Adrian R. Bacon (SBN 280332)
 2   LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 3   21550 Oxnard St., Suite 780
     Woodland Hills, CA 91367
 4
     Phone: 323-306-4234
 5   Fax: 866-633-0228
     tfriedman@ toddflaw.com
 6
     abacon@ toddflaw.com
 7   Attorneys for Plaintiff
 8                        UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
                                           ) Case No.
10
     TERRY FABRICANT, individually         )
11   and on behalf of all others similarly ) CLASS ACTION
     situated,                             )
12
                                           ) COMPLAINT FOR VIOLATIONS
13   Plaintiff,                            ) OF:
14                                         )
            vs.                            )    1. NEGLIGENT VIOLATIONS
15                                                    OF THE TELEPHONE
                                           )          CONSUMER PROTECTION
16   AMERICAN HOME IMPROVEMENT )                      ACT [47 U.S.C. §227(b)]
     INC., and DOES 1 through 10,          )    2.    WILLFUL VIOLATIONS
17                                                    OF THE TELEPHONE
     inclusive, and each of them,          )          CONSUMER PROTECTION
18                                         )          ACT [47 U.S.C. §227(b)]
19   Defendant.                            )
                                           )
20                                         ) DEMAND FOR JURY TRIAL
21                                         )
                                           )
22
                                           )
23                                         )
24
                                           )
                                           )
25                                         )
26                                         )
                                           )
27
          Plaintiff TERRY FABRICANT (“Plaintiff”), individually and on behalf of
28



                             CLASS ACTION COMPLAINT
                                        -1-
     Case 2:20-cv-11506-JFW-JC Document 1 Filed 12/21/20 Page 2 of 9 Page ID #:2




 1   all others similarly situated, alleges the following upon information and belief
 2   based upon personal knowledge:
 3                               NATURE OF THE CASE
 4           1.    Plaintiff brings this action individually and on behalf of all others
 5   similarly situated seeking damages and any other available legal or equitable
 6   remedies     resulting   from   the   illegal   actions   of   AMERICAN     HOME
 7   IMPROVEMENT INC. (“Defendant”), in negligently, knowingly, and/or willfully
 8   contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
 9   Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading
10   Plaintiff’s privacy.
11                              JURISDICTION & VENUE
12           2.    Jurisdiction is proper under 28 U.S.C. § 1331 because Plaintiff’s
13   claims arise under a law of the United States, the TCPA.
14           3.    Venue is proper in the United States District Court for the Central
15   District of California pursuant to 28 U.S.C. 1391(b) because a substantial portion
16   of the events giving rise to the claim occurred in this District.
17                                         PARTIES
18           4.    Plaintiff, TERRY FABRICANT (“Plaintiff”), is a natural person
19   residing in Winnetka, California and is a “person” as defined by 47 U.S.C. § 153
20   (39).
21           5.    Defendant,     AMERICAN           HOME      IMPROVEMENT         INC.
22   (“Defendant”) is home renovation company and is a “person” as defined by 47
23   U.S.C. § 153 (39).
24           6.    The above-named Defendant, and its subsidiaries and agents, are
25   collectively referred to as “Defendants.” The true names and capacities of the
26   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
27   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
28   names. Each of the Defendants designated herein as a DOE is legally responsible


                                 CLASS ACTION COMPLAINT
                                               -2-
     Case 2:20-cv-11506-JFW-JC Document 1 Filed 12/21/20 Page 3 of 9 Page ID #:3




 1   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 2   Complaint to reflect the true names and capacities of the DOE Defendants when
 3   such identities become known.
 4         7.       Plaintiff is informed and believes that at all relevant times, each and
 5   every Defendant was acting as an agent and/or employee of each of the other
 6   Defendants and was acting within the course and scope of said agency and/or
 7   employment with the full knowledge and consent of each of the other Defendants.
 8   Plaintiff is informed and believes that each of the acts and/or omissions complained
 9   of herein was made known to, and ratified by, each of the other Defendants.
10                               FACTUAL ALLEGATIONS
11         8.       Beginning in or around October 2019, Defendant contacted Plaintiff
12   on Plaintiff’s cellular telephone number ending in -1083, in an attempt to solicit
13   Plaintiff to purchase Defendant’s services.
14         9.       Defendant contacted or attempted to contact Plaintiff from telephone
15   numbers (818) 874-8981 and (818) 348-9031.
16         10.      Defendant used an “automatic telephone dialing system” as defined
17   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff seeking to solicit its services.
18         11.      Defendant’s calls constituted calls that were not for emergency
19   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
20         12.      The telephone number that Defendant, or their agent, called was
21   assigned to a cellular telephone service for which Plaintiff incurs a charge for
22   incoming calls and messages pursuant to 47 U.S.C. § 227 (b)(1).
23         13.      During all relevant times, Defendant did not possess Plaintiff’s “prior
24   express consent” to receive calls using an automatic telephone dialing system or an
25   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
26   227(b)(1)(A).
27         14.      These telephone calls by Defendant, or its agents, violated 47 U.S.C.
28   § 227(b)(1).


                                  CLASS ACTION COMPLAINT
                                                -3-
     Case 2:20-cv-11506-JFW-JC Document 1 Filed 12/21/20 Page 4 of 9 Page ID #:4




 1                                  CLASS ALLEGATIONS
 2          15.    Plaintiff brings this action individually and on behalf of all others
 3   similarly situated, as a member of the proposed class (“The Class”). The Class is
 4   defined as follows:
 5
                   All persons within the United States who received any
 6                 solicitation/telemarketing   telephone      calls  from
 7                 Defendant to said person’s cellular telephone made
                   through the use of any automatic telephone dialing
 8
                   system or an artificial or prerecorded voice and such
 9                 person had not previously consented to receiving such
10
                   calls within the four years prior to the filing of this
                   Complaint through the date of class certification.
11
12          16.    Plaintiff represents, and is a member of, The Class, consisting of all
13   persons within the United States who received any solicitation telephone calls from
14   Defendant to said person’s cellular telephone made through the use of any
15   automatic telephone dialing system or an artificial or prerecorded voice and such
16   person had not previously not provided their cellular telephone number to
17   Defendant within the four years prior to the filing of this Complaint through the
18   date of class certification.
19          17.    Defendant, its employees and agents are excluded from The Class.
20   Plaintiff does not know the number of members in The Class, but believes the
21   members number in the thousands, if not more. Thus, this matter should be
22   certified as a class action to assist in the expeditious litigation of the matter.
23          18.    The Class is so numerous that the individual joinder of all of its
24   members is impractical. While the exact number and identities of The Class
25   members are unknown to Plaintiff at this time and can only be ascertained through
26   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
27   The Class includes thousands of members.            Plaintiff alleges that The Class
28   members may be ascertained by the records maintained by Defendant.


                                    CLASS ACTION COMPLAINT
                                                -4-
     Case 2:20-cv-11506-JFW-JC Document 1 Filed 12/21/20 Page 5 of 9 Page ID #:5




 1         19.    Plaintiff and members of The Class were harmed by the acts of
 2   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
 3   and The Class members via their cellular telephones thereby causing Plaintiff and
 4   The Class members to incur certain charges or reduced telephone time for which
 5   Plaintiff and The Class members had previously paid by having to retrieve or
 6   administer messages left by Defendant during those illegal calls, and invading the
 7   privacy of said Plaintiff and The Class members.
 8         20.    Common questions of fact and law exist as to all members of The
 9   Class which predominate over any questions affecting only individual members of
10   The Class. These common legal and factual questions, which do not vary between
11   The Class members, and which may be determined without reference to the
12   individual circumstances of any members, include, but are not limited to, the
13   following:
14                a.    Whether, within the four years prior to the filing of this
15                      Complaint through the date of class certification, Defendant
16                      made any telemarketing/solicitation call (other than a call made
17                      for emergency purposes or made with the prior express consent
18                      of the called party) to a member of The Class using any
19                      automatic telephone dialing system or any artificial or
20                      prerecorded voice to any telephone number assigned to a
21                      cellular telephone service;
22                b.    Whether Plaintiff and The Class members were damaged
23                      thereby, and the extent of damages for such violation; and
24                c.    Whether Defendant should be enjoined from engaging in such
25                      conduct in the future.
26         21.    As a person that received numerous telemarketing/solicitation calls
27   from Defendant using an automatic telephone dialing system or an artificial or
28   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting


                                CLASS ACTION COMPLAINT
                                             -5-
     Case 2:20-cv-11506-JFW-JC Document 1 Filed 12/21/20 Page 6 of 9 Page ID #:6




 1   claims that are typical of The Class.
 2         22.    Plaintiff will fairly and adequately protect the interests of the members
 3   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
 4   class actions.
 5         23.    A class action is superior to other available methods of fair and
 6   efficient adjudication of this controversy, since individual litigation of the claims
 7   of all The Class members is impracticable. Even if every member could afford
 8   individual litigation, the court system could not. It would be unduly burdensome
 9   to the courts in which individual litigation of numerous issues would proceed.
10   Individualized litigation would also present the potential for varying, inconsistent,
11   or contradictory judgments and would magnify the delay and expense to all parties
12   and to the court system resulting from multiple trials of the same complex factual
13   issues. By contrast, the conduct of this action as a class action presents fewer
14   management difficulties, conserves the resources of the parties and of the court
15   system, and protects the rights of each member of The Class.
16         24.    The prosecution of separate actions by individual members of The
17   Class would create a risk of adjudications with respect to them that would, as a
18   practical matter, be dispositive of the interests of the other members not parties to
19   such adjudications or that would substantially impair or impede the ability of such
20   non-party members to protect their interests.
21         25.    Defendant has acted or refused to act in respects generally applicable
22   to The Class, thereby making appropriate final and injunctive relief with regard to
23   the members of The Class as a whole.
24                             FIRST CAUSE OF ACTION
25          Negligent Violations of the Telephone Consumer Protection Act
26                                   47 U.S.C. §227(b).
27                                On Behalf of The Class
28         26.    Plaintiff repeats and incorporates by reference into this cause of action


                                CLASS ACTION COMPLAINT
                                              -6-
     Case 2:20-cv-11506-JFW-JC Document 1 Filed 12/21/20 Page 7 of 9 Page ID #:7




 1   the allegations set forth above at Paragraphs 1-25.
 2         27.    The foregoing acts and omissions of Defendant constitute numerous
 3   and multiple negligent violations of the TCPA, including but not limited to each
 4   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
 5   47 U.S.C. § 227 (b)(1)(A).
 6         28.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
 7   Plaintiff and The Class members are entitled to an award of $500.00 in statutory
 8   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 9         29.    Plaintiff and The Class members are also entitled to and seek
10   injunctive relief prohibiting such conduct in the future.
11                           SECOND CAUSE OF ACTION
12    Knowing and/or Willful Violations of the Telephone Consumer Protection
13                                           Act
14                                   47 U.S.C. §227(b)
15                                 On Behalf of The Class
16         30.    Plaintiff repeats and incorporates by reference into this cause of action
17   the allegations set forth above at Paragraphs 1-25.
18         31.    The foregoing acts and omissions of Defendant constitute numerous
19   and multiple knowing and/or willful violations of the TCPA, including but not
20   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
21   and in particular 47 U.S.C. § 227 (b)(1)(A).
22         32.    As a result of Defendant’s knowing and/or willful violations of 47
23   U.S.C. § 227(b), Plaintiff and The Class members are entitled to an award of
24   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
25   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
26         33.    Plaintiff and The Class members are also entitled to and seek
27   injunctive relief prohibiting such conduct in the future.
28



                                  CLASS ACTION COMPLAINT
                                              -7-
     Case 2:20-cv-11506-JFW-JC Document 1 Filed 12/21/20 Page 8 of 9 Page ID #:8




 1                                PRAYER FOR RELIEF
 2   WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 3                             FIRST CAUSE OF ACTION
 4          Negligent Violations of the Telephone Consumer Protection Act
 5                                    47 U.S.C. §227(b)
 6                As a result of Defendant’s negligent violations of 47 U.S.C.
 7                §227(b)(1), Plaintiff and The Class members are entitled to and
 8                request $500 in statutory damages, for each and every violation,
 9                pursuant to 47 U.S.C. 227(b)(3)(B).
10                Any and all other relief that the Court deems just and proper.
11                           SECOND CAUSE OF ACTION
12    Knowing and/or Willful Violations of the Telephone Consumer Protection
13                                            Act
14                                    47 U.S.C. §227(b)
15                As a result of Defendant’s willful and/or knowing violations of 47
16                U.S.C. §227(b)(1), Plaintiff and The Class members are entitled to
17                and request treble damages, as provided by statute, up to $1,500, for
18                each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
19                U.S.C. §227(b)(3)(C).
20                Any and all other relief that the Court deems just and proper.
21
22         34.    Pursuant to the Seventh Amendment to the Constitution of the United
23   States of America, Plaintiff is entitled to, and demands, a trial by jury.
24
25
26
27
28



                                 CLASS ACTION COMPLAINT
                                               -8-
     Case 2:20-cv-11506-JFW-JC Document 1 Filed 12/21/20 Page 9 of 9 Page ID #:9




 1        Respectfully Submitted this 21st Day of December, 2020.
 2
                            LAW OFFICES OF TODD M. FRIEDMAN, P.C.

 3                                 By: /s/ Todd M. Friedman
 4                                     Todd M. Friedman
                                       Law Offices of Todd M. Friedman
 5
                                       Attorney for Plaintiff
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                             CLASS ACTION COMPLAINT
                                         -9-
